

Doe v Archdiocese of N.Y. (2023 NY Slip Op 05683)





Doe v Archdiocese of N.Y.


2023 NY Slip Op 05683


Decided on November 14, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 14, 2023

Before: Kapnick, J.P., Singh, Moulton, Shulman, Rosado, JJ. 


Index No. 160239/21 Appeal No. 1000 Case No. 2022-03666 

[*1]John Doe, Plaintiff- Respondent,
vArchdiocese of New York, Defendants, The Capuchin Franciscan Friars Also Known as The Capuchin Fathers Province of St. Mary etc., et al., Defendants-Appellants.


Hinshaw &amp; Culbertson LLP, New York (Concepcion A. Montoya of counsel), for The Capuchin Franciscan Friars, appellant.
Law Office of Roland R. Acevedo, New York (Roland R. Acevedo of counsel), for Timothy Jones, appellant.
Giskan, Solotaroff &amp; Anderson, LLP, New York (Catherine E. Anderson of counsel), for respondent.



Order, Supreme Court, New York County (Laurence Love, J.), entered on or about June 13, 2022, which denied the motions of defendant The Capuchin Franciscan Friars a/k/a Capuchin Fathers Province of St. Mary a/k/a and d/b/a Province of St. Mary of the Capuchin Order and defendant Timothy Jones to dismiss the complaint as barred by the statute of limitations, unanimously affirmed, with costs.
The motion court correctly found that this action was filed within the time frame set forth in CPLR 214-g, as tolled by executive order (see Matter of M.C. v State of New York, 74 Misc 3d 682, 701-702 [Ct Cl, New York County 2022]; 9 NYCRR 8.202.72). The complaint, which alleged "unpermitted sexual contact with Doe in violation of at least one section of . . . Penal Law [a]rticle 130 and/or § 263.05," clearly pled conduct bringing the claim within the purview of CPLR 214-g. Plaintiff was not required to plead that the action was timely pursuant to that provision (see generally Iberdrola Energy Projects v MUFG Union Bank, N.A., 218 AD3d 409, 410 [1st Dept 2023]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 14, 2023








